FlLEDBY

 

D " Case 2:05-Cv-02181-.]PI\/|-tmp Document 38 Filed 09/01/05 Page 1 of 4 PaM€
C,U\J way §§ DC Auszs 2005
M ‘ . AFI'EF\ HOUF\S DEPOSITORV
05 SEP -'l PH 3; 58 wu. §§:?_rangtug$€r':m
IN THE UNITED sTATEs DISTRICT coURT ' °' ° N' ”‘°'“°*‘“
ll'l{)l»% M. GOUL[) FOR THE WESTERN DISTRICT OF TENNESSEE
CIEHK, U.S\ hether ggym WESTERN DlvlsloN
lWG OF r-;t';'§`;i:);.n$
WILLIE MARTIN, et al, *
Plaintiff, *
vs. * No. 05-2181 MI
CORRECTION CORPORATION OF * “oT-_mn {',RANTED
AMERICA, et al ' --
Defendant. *

 

 

¢\\~-_\,, ,
fits -.-£i'e_§"¢~‘“ "

MOTION FOR EXTENS'ION OF TIME

 

COMES NOW, Plaintiffs, by and through counsel of record, Paul J. Springer, and
respectfillly request that this Honorable Court grant an extension of time in which to file Plaintiff‘s
Response to Motion to Intervene and Amend Complaint. For the reasons set out in the attached
Memorandum, Pla.intiffs’ counsel request a five (5) day extension This is Pla.intit`f‘s second request
for an extension of time to file a Response to Motion to lntervene.

WHEREFORE, PREMISES CONSIDERED, counsel for Plaintiffs respectfully request
that this Court grant a five (5) day extension of time or until August 26, 2005, in which to file

Plaintiffs’ Response to Motion to Intervene.

 

 

This document entered on the docket §§ in omp!isnce >%
with nine 53 and/er 79{;1) FncP on l 0§

Case 2:05-Cv-02181-.]PI\/|-tmp Document 38 Filed 09/01/05 Page 2 of 4 Page|D 67

Attomey for Plaintiff`

100 North Main Bldg., #3015
Memphis, TN 38103

(901) 528~8391

CERTIFICATE OF SERVICE

I hereby certify that on this _ day of August 2005, a copy of the foregoing Motion for
Extension of Time to respond to Motion to lntervene Was served on counsel for Plaintiff`, by placing
a copy in the U.S. Mail, first -class, postage prepaid, addressed as follows:

Debra Fessenden
Assistant County Attorney
160 N. Main St.

Ste. 600

Memphis, TN 38103

J ames Pentecost

Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Jolm Cox

Attorney at Law

P.O. Box 621
Greenville, MS 38701

Jeff Rosenblum
ROSENBLUM & REISMAN
80 Monroe Ave., Ste. 950
Memphis, TN 38103

Michael R. Hill
FLIPPIN COLLINS & HILL, PLLC

P.O. BOX 679
Milan, TN 38358
\ /

Paul J. ' e©

 

OF s sEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:05-CV-02181 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

Felisa N. COX

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Suite 660

1\/lemphis7 TN 38103

Kathryn W. Olita
ROSENBLUM & REISMAN
80 Monroe Ave.

Ste. 950

1\/lemphis7 TN 38103

K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jaol<son7 TN 38305

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jaol<son7 TN 38305

Jeffrey S. Rosenblum
ROSENBLUM & REISMAN
80 Monroe Ave.

Ste. 560

1\/lemphis7 TN 38103

Jirnmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/lemphis7 TN 38103

Paul J ames Springer

LAW OFFICE OF PAUL J. SPRINGER
605 Poplar Avenue

1\/lemphis7 TN 38105

Case 2:05-Cv-02181-.]PI\/|-tmp Document 38 Filed 09/01/05 Page 4 of 4 Page|D 69

Michael R. Hill

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

1\/li1an7 TN 38358

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/lemphis7 TN 38103

Marc E. Reisman
ROSENBLUM & REISMAN
80 Monroe Ave.

Ste. 950

1\/lemphis7 TN 38103

Paul J ames Springer

LAW OFFICE OF PAUL J. SPRINGER
100 N. Main Bldg.

Ste. 301 5

1\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

